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                                      6
                                      7
                                      8                         UNITED STATES DISTRICT COURT
                                      9                       CENTRAL DISTRICT OF CALIFORNIA
                                     10
                                          In the Matter of the Complaint of Truth      )    NO. CV 19-7693 PA (MRWx)
                                     11   Aquatics, Inc. and Glen Richard Fritzler and )
                                          Dana Jeanne Fritzler, individually and as    )
Gordon Rees Scully Mansukhani, LLP




                                     12   Trustees of the Fritzler Family Trust DTD    )    ORDER RESTRAINING ALL
                                          7/27/92 as owners and/or owners pro hac vice )    SUITS AND DIRECTING
    101 W. Broadway, Suite 2000




                                     13   of the dive vessel CONCEPTION, Official )         MONITION TO ISSUE
       San Diego, CA 92101




                                          Number 638133, for Exoneration from or       )
                                     14   Limitation of Liability
                                                                                       )
                                     15                                                )
                                     16         It appearing that a Complaint has been filed in the above-captioned Court by
                                     17   Plaintiffs TRUTH AQUATICS, INC., GLEN RICHARD FRITZLER AND DANA
                                     18   JEANNE FRITZLER, INDIVIDUALLY AND AS TRUSTEES OF THE
                                     19   FRITZLER FAMILY TRUST DTD 7/27/92 (hereinafter “PLAINTIFFS”), as
                                     20   owners and/or owners pro hac vice of the dive vessel CONCEPTION, Official
                                     21   Number 638133 (hereinafter “CONCEPTION”), for exoneration from, or
                                     22   limitation of, vessel owner’s liability, pursuant to 46 U.S.C. §30501 et seq., with
                                     23   respect to any and all losses or damages arising out of, resulting from, or in any
                                     24   manner connected with, the matters set forth in the Complaint, and the Complaint
                                     25   having stated the facts and circumstances upon which exoneration or limitation are
                                     26   claimed, and it appearing that the value of PLAINTIFFS’ interest in the
                                     27   CONCEPTION immediately following the incident was worth nothing, and it
                                     28                                 -1-
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                                      1   further appearing that PLAINTIFFS have filed a Stipulation for Value and Costs
                                      2   and Plaintiffs are not required to provide security for costs until further order of
                                      3   this Court and it further appearing that claims have been made, or will be made,
                                      4   against PLAINTIFFS, and/or the CONCEPTION, for losses or damages arising out
                                      5   of, or in some manner connected with, the matters set forth in the Complaint;
                                      6           NOW, THEREFORE, on application of PLAINTIFFS:
                                      7           IT IS ORDERED that the institution or prosecution of any and all suits,
                                      8   actions or legal proceedings of any nature and description whatsoever, against
                                      9   PLAINTIFFS, or the CONCEPTION, or any property of PLAINTIFFS, whether
                                     10   presently ongoing, filed but unknown, or to be filed in the future, except in this
                                     11   proceeding, with respect to any claims for death, injuries, property loss, or
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                                     12   damages, arising out of, resulting from, or in any manner connected with the fire
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                                     13   on September 2, 2019, aboard the CONCEPTION which the Complaint in this
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                                     14   action seeks exoneration from, or limitation of liability, be, and the same hereby
                                     15   are, stayed and restrained until the hearing and determination of this proceeding;
                                     16           IT IS FURTHER ORDERED that a monition issue out of and under the seal
                                     17   of this Court to all persons and entities asserting any claim with respect to that
                                     18   which the Complaint in this action seeks exoneration from, or limitation of,
                                     19   liability, admonishing them to file their respective claims with the Clerk of this
                                     20   Court at the United States Courthouse, in writing and under oath, and to serve a
                                     21   copy thereof on the attorneys for PLAINTIFFS, on or before the July 1, 2020, or
                                     22   be deemed in contumacy and default;
                                     23           IT IS FURTHER ORDERED that public notice of the monition and this
                                     24   action be published, by PLAINTIFFS, in The Los Angeles Times, a newspaper of
                                     25   general circulation printed and published in Los Angeles County, California, once
                                     26   in each week for four (4) successive weeks beginning no later than October 10,
                                     27   2019.
                                     28                                   -2-
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                                      1         IT IS FURTHER ORDERED that PLAINTIFFS, not later than the date of
                                      2   the second publication, shall mail a copy of the monition to every person and entity
                                      3   known to have asserted any claim against PLAINTIFFS, or the CONCEPTION,
                                      4   arising out of, resulting from, or in any manner connected with, that which the
                                      5   Complaint in this action seeks exoneration from, or limitation of, and in those
                                      6   cases where the person or entity making the claim is known to have an attorney,
                                      7   the monition shall be mailed to such attorney; and a copy of such monition shall be
                                      8   mailed to such other persons as are known to have any claim against
                                      9   PLAINTIFFS, or the CONCEPTION, arising out of, resulting from, or in any
                                     10   manner connected with, that which the Complaint in this action seeks exoneration
                                     11   from, or limitation of, not later than the second day of the aforementioned
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                                     12   publication; and
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                                     13         IT IS FURTHER ORDERED that service of this Order as a restraining order
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                                     14   may be had by mailing a certified copy of this Order to the persons to be
                                     15   restrained, or to their attorneys acting on their behalf.
                                     16         In issuing this Order, the Court recognizes that the Federal Rules of Civil
                                     17   Procedure, Supplemental Rules for Certain Admiralty and Maritime Claims
                                     18   (hereinafter “Supplemental Rules”) govern actions such as this and appear to limit
                                     19   the Court’s discretion. Specifically, Supplemental Rules F(3) and F(4) state that
                                     20   the Court “shall” issue the injunction, monition, and publication orders
                                     21   PLAINTIFFS have requested. In issuing the requested orders at this preliminary
                                     22   stage, the Court makes no determination as to the merits of PLAINTIFFS’ efforts
                                     23   to limit their liability pursuant to 46 U.S.C. § 30505.
                                     24         IT IS SO ORDERED, this 11th day of September, 2019.
                                     25
                                     26                                                PERCY ANDERSON
                                                                                       UNITED STATES DISTRICT JUDGE
                                     27
                                     28                                 -3-
                                                ORDER RESTRAINING ALL SUITS AND DIRECTING MONITION
                                                                     TO ISSUE
